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                                      United States District Court
                                      Southern District of Texas
                                           Houston Division
Darian Woodbright, et al.                             §
                                                      §
versus                                                §             Civil Action 4:24−cv−04611
                                                      §
Health Matching Account Services, Inc.                §


                                Notice of Filing of Official Transcript
An official transcript has been filed:
                                              Transcript − #27

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         •   Statements by that party;
         •   Testimony of witnesses called by that party; and
         •   Other parts ordered by the court.

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Date: May 30, 2025                                               Nathan Ochsner, Clerk
